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             EXHIBIT A
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From:                           Cathy Areu [EMAIL WITHHELD]
Sent:                           Wednesday, July 1, 2020 10:42 AM
To:                             Amy Sohnen
Subject:                        [EXTERNAL] Ed Henry



Is now a good time to show you Ed’s pornographic texts to me?

He’s not the only one BTW.

As you can tell, I’ve always kept Fox’s secrets. I‘Ve protected Fox’s image for years.

Cathy




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             EXHIBIT B
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From:
Sent:                           Monday, July 20, 2020 2:51 PM
To:                             Briganti, Irena
Subject:                        [EXTERNAL] Fwd: Fox News/ Ed Henry Sexual Assault Lawsuit and Sexual Harassment
                                by Sean Hannity, Tucker Carlson and Others
Attachments:                    Complaint - STAMPED.pdf




---------- Fo1warded message --------­
From: Michael J. Willemin [EMAIL WITHHELD]
Date: Mon, Jul 20, 2020 at 11:47 AM


                           ■lll'ftlMli'f111l. �
Subject: Fox News/ Ed Herny Sexual Assault Lawsuit and Sexual Harassment by Sean Hannity, Tucker


                          i�
Carlson and Others
To: Michael J. Willemin
                        lH
Cc: Douglas Wigdorll■                         Jacob Eidinger [EMAIL \VITHHELD]


All, you are receiving this email because you are on our press list. If you would like to be removed from our
press list, please let us know.

On July 1, 2020, Fox News disingenuously attempted to take credit for "doing the right thing" when it
tenninated anchor Ed Herny, purpo1iedly for "sexual misconduct." Moments ago, we filed a federal lawsuit
(attached) on behalf of our clients, Jennifer Eckhaii and Cathy Areu, against Fox News and fo1mer Fox News
co-anchor Ed Herny. As detailed in the complaint, Fox News did not do the right thing. In reality, as alleged,
Fox News suppo1ied and even promoted Mr. Herny despite the fact that multiple women had complained about
Mr. Remy's sexually inappropriate conduct as eai·ly as 2017. According to the complaint, the real reason that
Fox News tenninated Mr. Herny is because it knew that this lawsuit was coming and wanted to "get out ahead"
of it.

To be cleai·, Mr. Herny did not engage merely in generic "sexual misconduct" towards Ms. Eckhart or Ms.
Areu. Rather, as alleged, Mr. Herny subjected Ms. Eckhaii to sexual hai·assment, sexual assault and rape. After
Ms. Eckhaii courageously came fo1wai·d, as detailed in the complaint, Fox News retaliated against Ms. Eckhaii
by, among other things, blindsiding her with Mr. Remy's te1mination and issuing a completely misleading
statement concerning his egregious conduct. Fox intentionally downplayed the severity of the situation by
chai·acterizing Mr. Remy's actions as merely "sexual misconduct." Fox News was hying to avoid taking
accountability for what actually happened; namely, that one of its most prominent on-air personalities -- with a
histo1y of multiple sexual hai·assment complaints - sexually assaulted and raped Ms. Eckhaii. This conduct on
the paii of Fox News is abhonent, and, of course, has only served to greatly increase the h'auma that Ms.
Eckhaii is experiencing as a result.



As for Ms. Areu, according to the complaint Mr. Herny sent her myriad wildly inappropriate, disturbing and
sadistic sexual images and videos and repeatedly suggested that he would help her obtain an anchor position
with Fox News if she engaged in sexual acts with him. In addition, Ms. Areu was sexually hai·assed by multiple
other men at Fox News, including Sean Hannity, Tucker Cai·lson, Howai·d Kmiz and Gianno Caldwell. The

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details of those acts are laid out in the complaint, including a photograph that captures the image of a stack of
cash on set that Mr. Hannity offered to his male staff, auctioning off Ms. Areu to anyone in the studio was “man
enough” to take her on a date after work. Ms. Areu was hooked up to the studio equipment, to go on air live,
and could not even walk away during the “auctioning.”

Statements from Ms. Eckhart, Ms. Areu and Wigdor LLP are immediately below.

Ms. Eckhart: “I stand for all victims who have been mistreated, harassed, assaulted, and even worse, at the
hands of those in power, and the institutions that continue to support them. My decision to speak out was not an
easy one, but I refuse to let fear of retaliation, victim shaming and further attacks intimidate me into remaining
silent. I am hopeful that my decision to file this action will result in positive change for women at Fox, and for
all victims in the workplace, and I am honored that other women have come forward since my decision to do
so."

Ms. Areu: “Like Ms. Eckhart, I too was fearful to come forward. However, I simply could not stay silent given
the tremendous harm that Mr. Henry and others at Fox News have caused for women affiliated with the
company. I chose to file this complaint because no woman should have to suffer the conduct to which I was
subjected, much less the egregious conduct suffered by Ms. Eckhart.”

Douglas H. Wigdor and Michael J. Willemin, of Wigdor LLP: “What this lawsuit reveals is that today’s Fox
News is the same old Fox News. Some of the names in leadership may have changed since Roger Ailes’
regime, but Fox News’ institutional apathy towards sexual misconduct has not. How many more women will
have to be victimized before Fox News finally takes sexual harassment and workplace sexual assault
seriously? We expect Fox News to claim – as it almost always does – that an “independent” investigation
found no evidence of wrongdoing. Of course, Fox News will have paid the investigator, who also happens to be
a management-side employment lawyer. In other words, a significant part of this “investigators” time is spent
defending companies like Fox News against allegations such as the ones brought herein. Moreover, the
investigator did not even speak with either of our clients, even though both Ms. Eckhart and Ms. Areu offered to
meet with him under reasonable conditions. We call on Fox News to work with our clients to retain a truly
independent investigator who is transparent. The results of any such investigation should be made public for
the world to see.”

Please contact us if you have any questions about this complaint.



Sincerely,




Michael J. Willemin
Partner

WIGDOR LLP
85 Fifth Avenue, New York, NY 10003
[PHONE NUMBER WITHHELD]


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[EMAIL WITHHELD]




•a
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you are not the addressee indicated in this message or its intended recipient (or responsible for delivery of the message
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or delete this message, including any copies hereof, and kindly notify the sender by reply e-mail, facsimile or phone.
Thank you.




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             EXHIBIT C
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From: Cathy [EMAIL WITHHELD]
Sent: Friday, March 9, 2018 6:39 AM
To: Moni, Alyssa < [EMAIL WITHHELD]             >
Subject: Re: Hannity Fox News Tonight?

Please thank Sean for a fun evening. He shouldn’t have! ... but We did exactly as he and Alex’s had bet. Down to the pineapple
mar ni 🍸.

See you next Thursday!

Cathy




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 On Mar 8, 2018, at 10:39 PM, Moni, Alyssa <      [EMAIL WITHHELD]            > wrote:

       Thank you for joining!
       We appreciate it J
       See you then!

       From: Cathy [EMAIL WITHHELD]
       Sent: Thursday, March 08, 2018 10:37 PM
       To: Moni, Alyssa < [EMAIL WITHHELD]                >
       Subject: Re: Hannity Fox News Tonight?

       Thanks so much for having me on. Way too much fun.

       Same me next week!

       Cathy

       On Mar 8, 2018, at 6:56 PM, Moni, Alyssa <       [EMAIL WITHHELD]           > wrote:

               Haha of course!
               No problem at all – will add him to the security list J

               From: Cathy [EMAIL WITHHELD]
               Sent: Thursday, March 08, 2018 6:56 PM
               To: Moni, Alyssa < [EMAIL WITHHELD]               >
               Subject: Re: Hannity Fox News Tonight?

               Thanks! I’ll be ready!

               Is it ok for me to bring a guest? His name is Alex T      . He’s my good luck charm. He does yoga. Very
               calming. I run. I’m nuts.

               ;)
               Cathy

               On Mar 8, 2018, at 6:43 PM, Moni, Alyssa <      [EMAIL WITHHELD]           > wrote:

                       Hit me for tonight moving back to 9:45pm et due to NOKO news.
                       Topic the same I believe as earlier.
                       Thanks!




[MESSAGE HAS BEEN TRUNCATED HERE TO REMOVE PERSONAL AND EDITORIAL INFORMATION]




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